                Case 2:12-cr-00169-TLN Document 499 Filed 11/19/15 Page 1 of 3


 1   KELLY BABINEAU (CA State Bar #190418)
 2
     The Law Office of Kelly Babineau
     455 Capitol Mall, Ste 802
 3   Sacramento, CA 95814
     Tel:(916) 442-4948
 4
     Fax: (916) 492-2909
 5   kbabineau@klblawoffice.net
 6
     Attorney for ERIC ROBINSON
 7

 8

 9
                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     THE UNITED STATES OF AMERICA, ) No. 12-CR-00169MCE
                      Plaintiff,        )
12                                      ) AMENDED STIPULATION AND
           v.                           ) ORDER TO CONTINUE
13
                                        ) STATUS CONFERENCE
14                                      )
     ERIC ROBINSON,                     )
15
                                        ) Date: 12-4-2015
16                    Defendant.        ) Time: 9:00 a.m.
     ________________________________) Judge: Hon. Morrison C. England
17

18         Plaintiff United States of America, by and through its counsel of record, and

19   defendant Eric Robinson, by and through his counsel of record, hereby stipulate as
20
     follows:
21
           1.       By previous order, this matter was set for status November 19, 2015.
22

23         2.       By this stipulation, defendant now moves to continue the status
24
     conference until December 4, 2015, and to exclude time between November 19, 2015
25
     and December 4, 2015, under Local Code T4. Plaintiff does not oppose this request.
26

27         3.       The parties agree and stipulate, and request that the Court find the
28   following:


                                                -1-
                 Case 2:12-cr-00169-TLN Document 499 Filed 11/19/15 Page 2 of 3


 1          a.       The government has represented that the discovery associated with this
 2
     case includes approximately 1, 952 pages of investigative reports and related documents
 3
     in electronic form and many hours of recorded telephone calls. All of this discovery has
 4

 5   been either produced directly to counsel and / or made available for inspection and
 6
     copying.
 7
            b.       Counsel for defendant desires additional time to complete the review of
 8

 9   discovery, to conduct defense investigation, and to discuss potential resolution with her
10
     client. Counsel has also been continuing to engage in negotiations with the government.
11
     In particular, Mr. Robinson has a current pending matter in Solano County that the
12

13   government and counsel are attempting to negotiate a global resolution. Negotiations

14   with the county prosecutor and the government are ongoing. The parties involved have
15
     been working diligently to reach a resolution and are very close. An offer has been
16
     extended to Mr. Robinson but there are some minor issues that must be resolved before
17

18   a plea may be entered.
19
            c.       Counsel for defendant believes that failure to grant the above-requested
20
     continuance would deny her the reasonable time necessary for effective preparation,
21

22   taking into account the exercise of due diligence.

23          d.       The government does not object to the continuance.
24
            e.       Based on the above-stated findings, the ends of justice served by
25

26
     continuing the case as requested outweigh the interest of the public and the defendant in

27   a trial within the original date prescribed by the Speedy Trial Act.
28
            f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.


                                                 -2-
             Case 2:12-cr-00169-TLN Document 499 Filed 11/19/15 Page 3 of 3


 1   § 3161, et seq., within which trial must commence, the time period of November 19,
 2
     2015 to December 4, 2015, inclusive, is deemed excludable pursuant to 18 U.S.C.§
 3
     3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted by
 4

 5   the Court at defendant’s request on the basis of the Court's finding that the ends of
 6
     justice served by taking such action outweigh the best interest of the public and the
 7
     defendant in a speedy trial.
 8

 9          4.     Nothing in this stipulation and order shall preclude a finding that other

10   provisions of the Speedy Trial Act dictate that additional time periods are excludable
11
     from the period within which a trial must commence.
12

13
     IT IS SO STIPULATED.

14   Dated: November 17, 2015                        Respectfully submitted,
15
                                                     /s/ Kelly Babineau
16                                                   KELLY BABINEAU
                                                     Attorney for Eric Robinson
17

18   Dated: November 17, 2015                        /s/ Jason Hitt
                                                     Kelly Babineau for:
19                                                   JASON HITT
20                                                   Assistant U.S. Attorney

21
            IT IS SO ORDERED.
22
     Dated: November 18, 2015
23

24

25

26

27

28




                                               -3-
